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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
 UNITED STATES, et al.,                         )
                                                )
                        Plaintiffs,             )
        v.                                      )       No. 1:23-cv-00108-LMB-JFA
                                                )
 GOOGLE LLC,                                    )
                                                )
                        Defendant.              )

               PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL


        Pursuant to Local Civil Rule 5(C) and the Protective Order (Dkt. 98), Plaintiffs’

 respectfully move this Court to seal portions of Plaintiffs’ motion and memorandum to compel

 Google to produce all data and information referred to and/or relied on by its testifying experts

 that identify Google's expert or reference their report, and to seal exhibits 2, 3, and portions of 4

 attached to the motion and memorandum. The expert reports and exhibits contain information

 marked confidential by Defendant Google. Consistent with the local rule and this Court’s

 Electronic Case Filing Policies and Procedures, undersigned counsel have filed the materials at

 issue using the sealed filing event on CM/ECF and hereby certify that they will serve a copy on

 opposing counsel and deliver a copy to this Court in a separate container labeled “UNDER

 SEAL.” The grounds for this motion are contained in the memorandum of law concurrently

 filed in support of this motion. A proposed order is attached for the Court’s convenience.




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 Dated: February 2, 2024

 Respectfully submitted,

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